    Case 1:24-cv-00251-LM-TSM             Document 7           Filed 08/16/24   Page 1 of 4




                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE

Parker Tirrell, by her parents and next friends Sara Tirrell
and Zachary Tirrell, and

Iris Turmelle, by her parents and next friends Amy
Manzelli and Chad Turmelle,

       Plaintiffs.
                                                                   Civil Action No. 1:24-cv-00251
       v.

Frank Edelblut, in his official capacity as Commissioner of
the New Hampshire Department of Education;

Andrew Cline, Kate Cassady, Ann Lane, Philip Nazzaro,
Rajesh Nair, James Fricchione, and James Laboe, in their
official capacities as members of the New Hampshire
State Board of Education;

Pemi-Baker Regional School District;

Lisa Ash, Bernice Sullivan, Sheila Donahue, Tony Torino,
Carolyn Varin, Peter Jackson, Phil McCormack, Greg
Aprilliano, Bonnie Acton, Barbara Noyes, Paul Ciotti,
Sam Brickley, and Paul Pizzano, in their official
capacities as members of the Pemi-Baker Regional School
Board;

Pembroke School District; and

Andrew Camidge, Gene Gauss, Kerri Dean, and Melanie
Camelo, in their official capacities as members of the
Pembroke School Board,

       Defendants.


              PLAINTIFFS PARKER TIRRELL AND IRIS TURMELLE’S
                   MOTION FOR PRELIMINARY INJUNCTION
      Case 1:24-cv-00251-LM-TSM             Document 7        Filed 08/16/24       Page 2 of 4




       Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiff Parker Tirrell, by her next

friends and parents Sara Tirrell and Zachary Tirrell, moves this Court to preliminarily enjoin

Defendants Frank Edelblut, in his official capacity as Commissioner of the New Hampshire

Department of Education; Andrew Cline, Kate Cassady, Ann Lane, Philip Nazzaro, Rajesh Nair,

James Fricchione, and James Laboe, in their official capacities as members of the New Hampshire

State Board of Education; Pemi-Baker Regional School District; and Lisa Ash, Bernice Sullivan,

Sheila Donahue, Tony Torino, Carolyn Varin, Peter Jackson, Phil McCormack, Greg Aprilliano,

Bonnie Acton, Barbara Noyes, Paul Ciotti, Sam Brickley, and Paul Pizzano, in their official

capacities as members of the Pemi-Baker Regional School Board; and their employees, agents,

appointees, or successors from enforcing or threatening to enforce HB 1205 as to Plaintiff Parker

Tirrell, and requiring said Defendants and their employees, agents, appointees or successors to

permit Plaintiff Parker Tirrell to try out for and play on the school sports teams designated for girls

on the same terms and conditions as other girls.

       Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiff Iris Turmelle, by her next

friends and parents Amy Manzelli and Chad Turmelle, moves this Court to preliminarily enjoin

Defendants Frank Edelblut, in his official capacity as Commissioner of the New Hampshire

Department of Education; Andrew Cline, Kate Cassady, Ann Lane, Philip Nazzaro, Rajesh Nair,

James Fricchione, and James Laboe, in their official capacities as members of the New Hampshire

State Board of Education; Pembroke School District; and Andrew Camidge, Gene Gauss, Kerri

Dean, and Melanie Camelo, in their official capacities as members of the Pembroke School Board;

and their employees, agents, appointees, or successors from enforcing or threatening to enforce

HB 1205 as to Plaintiff Iris Turmelle, and requiring said Defendants and their employees, agents,
      Case 1:24-cv-00251-LM-TSM              Document 7       Filed 08/16/24     Page 3 of 4




appointees or successors to permit Plaintiff Iris Turmelle to try out for and play on the school

sports teams designated for girls.

          Plaintiffs also move this Court for an order waiving the requirement for bond or security.

          This Motion is based on the memorandum of law in its support and the declarations filed

with it, as well as the Complaint. Plaintiffs make this motion on the grounds that H.B. 1205 violates

Title IX of the Education Amendments of 1972, 42 U.S.C. § 1983, and the Equal Protection Clause

of the Fourteenth Amendment to the United States Constitution, as set out in the accompanying

memorandum of law in support of this Motion. Plaintiffs respectfully request a hearing on this

matter.

                                                       Respectfully submitted,

                                                       PARKER TIRRELL, by her parents and
                                                       next friends SARA TIRRELL and
                                                       ZACHARY TIRRELL,

                                                       and

                                                       IRIS TURMELLE, by her parents and next
                                                       friends AMY MANZELLI and CHAD
                                                       TURMELLE,

                                                       By and through their attorneys,

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     Case 1:24-cv-00251-LM-TSM           Document 7      Filed 08/16/24   Page 4 of 4




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*Applications for admission pro hac vice to follow.

August 16, 2024
